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     EXHIBIT A-1
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                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

                                                 Master File No: 2:15-cv-05146-CAS-PJWx
                                                 c/w: 2:15-cv-05173-CAS(PJWx)

   In re Silver Wheaton Corp.
   Securities Litigation




                        INTERNET NOTICE OF PENDENCY AND
                      PROPOSED SETTLEMENT OF CLASS ACTION

 If you purchased the publicly traded securities of Silver Wheaton Corp., n/k/a Wheaton Precious
 Metals Corp. (“Silver Wheaton” or the “Company”) on a United States exchange (Cusip #
 828336107) or in a transaction in the United States between March 30, 2011 and July 6, 2015,
 inclusive (“Class Period”), you could get a payment from a class action settlement (the
 “Settlement”).

        A federal court has authorized this notice. This is not a solicitation from a lawyer.

    •   If approved by the Court, the Settlement will provide $41,500,000 plus interest (the
        “Settlement Amount”), to pay claims of investors who purchased publicly traded Silver
        Wheaton securities on a United States exchange or in a transaction in the United States
        during the period between March 30, 2011 and July 6, 2015, inclusive, and allegedly were
        damaged thereby (the “Settlement Class”).

    •   The Settlement represents an average recovery of $0.165 per share of Silver Wheaton stock
        for the 251 million shares outstanding and traded on the NYSE during the Class Period. A
        share may have been traded more than once during the Class Period. This estimate solely
        reflects the average recovery per outstanding share of Silver Wheaton stock traded on the
        NYSE. The indicated average recovery per share will be the total average recovery for all
        purchasers of that share. This is not an estimate of the actual recovery per share you should
        expect. Your actual recovery will depend on the aggregate claimed losses of all Settlement
        Class Members, the date(s) you purchased and sold Silver Wheaton securities, and the total
        number and amount of claims filed.

    •   Attorneys for Plaintiffs (“Plaintiffs’ Counsel”) intend to ask the Court to award them fees
        of up to $13,833,333 or one-third (33.3%) of the Settlement Amount, reimbursement of
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       litigation expenses of no more than $1,600,000 and an award to Plaintiffs of $12,500 each
       for reimbursement of reasonable costs and expenses (including lost wages) directly relating
       to their representation of the Settlement Class, collectively not to exceed $87,500. If
       approved by the Court, these amounts will be paid from the Settlement Fund.

   •   If the above amounts are requested and approved by the Court, the average cost per share
       of common stock will be approximately $0.061 per share, making the estimated recovery
       per share after fees and expenses approximately $0.104. This estimate is based on the
       assumptions set forth in the preceding paragraph. Your actual recovery, if any, will vary
       depending on your purchase price and sales price, and the number and amount of claims
       filed.

   •   The Settlement resolves the lawsuit concerning whether Silver Wheaton, its auditor,
       Deloitte LLP (Canada) (“Deloitte”), and certain of Silver Wheaton’s executive officers
       made false and misleading statements, in violation of federal securities laws, based upon
       the allegations set forth in the Second Amended Complaint (“Complaint”) including that
       Silver Wheaton’s 2010-2014 financial statements were misleading for failing to record a
       tax liability or to disclose a contingent liability for alleged future tax liabilities relating to
       income earned by the Company’s foreign subsidiaries outside of Canada.

   •   Your legal rights will be affected whether you act or do not act. If you do not act, you may
       permanently forfeit your right to recover on this claim. Therefore, you should read this
       notice carefully.

   •   A copy of the Stipulation of Settlement, which is incorporated by reference herein, is
       available at www.silverwheatonsettlement.com. Capitalized terms in this notice shall have
       the same meaning as in the Stipulation of Settlement.
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             YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT
  SUBMIT A CLAIM FORM NO                 The only way to get a payment.
  LATER THAN
  __________ _____, 2020
  EXCLUDE YOURSELF NO                    Get no payment. This is the only option that allows
  LATER THAN                             you to be part of any other lawsuit against the
  __________ _____, 2020                 Defendants about the legal claims in this case.
  OBJECT NO LATER THAN                   Write to the Court about why you do not like the
  __________ _____, 2020                 Settlement.
  GO TO A HEARING ON                     You may ask to speak in Court about the fairness of
  __________ _____, 2020                 the Settlement.
  DO NOTHING                             Get no payment. Give up rights.

                                         INQUIRIES
 Please do not contact the Court regarding this notice. All inquiries concerning this Notice,
 the Proof of Claim and Release Form, or any other questions by Settlement Class Members
 should be directed to:


       Silver Wheaton Corp. Litigation           or              Jonathan Horne, Esq.
        c/o Strategic Claims Services                       THE ROSEN LAW FIRM, P.A.
                 P.O. Box 230                               275 Madison Avenue, 40th Floor
         600 N. Jackson St., Ste. 205                        New York, New York 10016
               Media, PA 19063                                    Tel.: 212-686-1060
              Tel.: 866-274-4004                                  Fax: 212-202-3827
              Fax: 610-565-7985                                  info@rosenlegal.com
           info@strategicclaims.net
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      COMMON QUESTIONS AND ANSWERS CONCERNING THE SETTLEMENT
 1.    Why did I get this Notice?
       You or someone in your family may have acquired Silver Wheaton securities during the
       Class Period.
 2.    What is this lawsuit about?
       The case is known as In re Silver Wheaton Corp. Securities Litigation, Case No. 15-cv-
       5146-CAS-PJWx (the “Action”), and the court in charge of the case is the United States
       District Court for the Central District of California (the “Court”).


       The Action involves whether Defendants violated the federal securities laws because they
       allegedly made false and misleading statements to the investing public as set out in the
       Complaint, including allegations that Silver Wheaton’s 2010-2014 financial statements
       were misleading for failing to record a tax liability or to disclose a contingent liability for
       alleged future tax liabilities relating to income earned by the Company’s foreign
       subsidiaries outside of Canada. Defendants expressly deny all allegations of wrongdoing
       or liability whatsoever and deny that any Settlement Class Members were damaged. The
       Settlement resolves all of the claims in the Class Action against Defendants.
 3.    Why is this a class action?
       In a class action, one or more persons and/or entities, called representative plaintiffs, sue
       on behalf of all persons and/or entities who have similar claims. All of these persons and/or
       entities are referred to collectively as a class, and these individual persons and/or entities
       are known as class members. One court resolves all of the issues for all class members,
       except for those class members who validly exclude themselves from the class.
 4.    Why is there a Settlement?
       Plaintiffs and Defendants do not agree regarding the merits of Plaintiffs’ allegations with
       respect to liability or the average amount of damages per share that would be recoverable
       if Plaintiffs were to prevail at trial on each claim. The issues on which the Plaintiffs and
       Defendants disagree include: (1) whether Defendants made materially false and misleading
       statements; (2) whether Defendants made such statements with the intent to defraud the
       investing public; (3) whether the statements were the cause of the Settlement Class
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      Members’ alleged damages; and (4) the amount of damages, if any, suffered by the
      Settlement Class Members.


      This matter has not gone to trial and the Court has not decided in favor of either Plaintiffs
      or Defendants. Instead, Plaintiffs and Defendants have agreed to settle the Action. The
      Plaintiffs and Plaintiffs’ Counsel believe the Settlement is best for all Settlement Class
      Members because of the risks associated with continued litigation and the nature of the
      defenses raised by Defendants. Even if Plaintiffs were to win at trial, and also withstand
      Defendants’ inevitable challenge on appeal, Plaintiffs might not be able to collect some, or
      all, of the judgment.
 5.   How do I know if I am part of the Class Settlement?
      To be a Settlement Class Member, you must have purchased publicly traded Silver
      Wheaton securities: (i) on a U.S. exchange, or (ii) in a transaction in the United States,
      during the period from March 30, 2011 to July 6, 2015, inclusive, and not sold such
      securities prior to July 6, 2015.
 6.   Are there exceptions to being included?
      Yes. Excluded from the Settlement Class are (i) persons who sold their shares prior to July
      6, 2015; (ii) persons who validly exclude themselves from the Settlement Class, as
      described below; (iii) Defendants, all present and former officers and directors of Silver
      Wheaton and any subsidiary thereof, Deloitte and all of its present and former partners,
      members of all such excluded persons’ families and their legal representatives, heirs,
      successors or assigns and any entity which such excluded persons controlled or in which
      they have or had a controlling interest.
 7.   What does the Settlement provide?
      (a)    What is the Settlement Fund?
      The proposed Settlement calls for the creation of a Settlement Fund (the “Settlement
      Fund”) in the amount of $41,500,000. The Settlement is subject to Court approval. Also,
      subject to the Court’s approval, a portion of the Settlement Fund will be used to pay
      Plaintiffs’ Counsel’s attorneys’ fees and reasonable litigation expenses and any award to
      Plaintiffs for reimbursement of reasonable costs and expenses (including lost wages)
      directly relating to their representation of the Settlement Class. A portion of the Settlement
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        Fund also will be used to pay taxes due on interest earned by the Settlement Fund, if
        necessary, and any notice and claims administration expenses permitted by the Court.
        After the foregoing deductions from the Settlement Fund have been made, the amount
        remaining (the “Net Settlement Fund”) will be distributed to Settlement Class Members
        who submit valid claims.
        (b)     What can I expect to receive under the proposed Settlement?
         Your share of the Net Settlement Fund will or may depend on: (i) the number of claims
         filed; (ii) the dates you purchased and sold Silver Wheaton securities; (iii) the prices of
         your purchases and sales; (iv) the amount of administrative costs, including the costs of
         notice; and (v) the amount awarded by the Court to Plaintiffs and their counsel for
         attorneys’ fees, costs, and expenses.


         The Net Settlement Fund will be distributed to Settlement Class Members who submit
         valid, timely claim forms (“Authorized Claimants”) under the below Plan of Allocation,
         which reflects Plaintiffs’ contention that because of the alleged misrepresentations and
         omissions made by Defendants, the price of Silver Wheaton stock was artificially inflated
         during the Class Period and that disclosure of the “true facts” caused changes in the inflated
         stock price.


         The Recognized Claim of each Authorized Claimant shall be calculated according to the
         following Plan of Allocation:
                             PROPOSED PLAN OF ALLOCATION

         The Plan of Allocation is a matter separate and apart from the proposed Settlement, and
 any decision by the Court concerning the Plan of Allocation shall not affect the validity or finality
 of the proposed Settlement. The Court may approve the Plan of Allocation with or without
 modifications agreed to among the Parties, or another plan of allocation, without further notice to
 Settlement Class Members. Any orders regarding a modification of the Plan of Allocation will be
 posted to the website for this Settlement, www.silverwheatonsettlement.com.

         The Claims Administrator shall determine each Authorized Claimant’s pro rata share of
 the Net Settlement Fund based upon each Authorized Claimant’s Recognized Claim. Please Note:
 The Recognized Claim formula, set forth below, is not intended to be an estimate of the amount
 of what a Settlement Class Member might have been able to recover after a trial, nor is it an
 estimate of the amount that will be paid to Authorized Claimants pursuant to the Settlement. The
 Recognized Claim formula is the basis upon which the Net Settlement Fund will be proportionately
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 allocated to the Authorized Claimants. To the extent there are sufficient funds in the Net
 Settlement Fund, each Authorized Claimant will receive an amount equal to the Authorized
 Claimant’s Recognized Claim. If, however, the amount in the Net Settlement Fund is not sufficient
 to permit payment of the total Recognized Claim of each Authorized Claimant, then each
 Authorized Claimant shall be paid the percentage of the Net Settlement Fund that each Authorized
 Claimant’s Recognized Claim bears to the total Recognized Claims of all Authorized Claimants
 (i.e., “pro rata share”). Payment in this manner shall be deemed conclusive against all Authorized
 Claimants. No distribution will be made on a claim where the potential distribution amount is less
 than ten dollars ($10.00) in cash.

          If any funds remain in the Net Settlement Fund by reason of uncashed checks, or otherwise,
 after the Claims Administrator has made reasonable and diligent efforts to have Authorized
 Claimants who are entitled to participate in the distribution of the Net Settlement Fund cash their
 distribution checks, then any balance remaining in the Net Settlement Fund six (6) months after
 the initial distribution of such funds shall be used: (i) first, to pay any amounts mistakenly omitted
 from the initial distribution to Authorized Claimants; (ii) second, to pay any additional
 Administrative Costs incurred in administering the Settlement; and (iii) finally, to make a second
 distribution to Authorized Claimants who cashed their checks from the initial distribution and who
 would receive at least $10.00 from such second distribution, after payment of the estimated costs
 or fees to be incurred in administering the Net Settlement Fund and in making this second
 distribution, if such second distribution is economically feasible. If six (6) months after such
 second distribution, if undertaken, or if such second distribution is not undertaken, any funds shall
 remain in the Net Settlement Fund, any funds remaining in the Net Settlement Fund shall be
 donated to a non-profit charitable organization(s) selected by Plaintiffs’ Counsel.

             THE BASIS FOR CALCULATING YOUR RECOGNIZED CLAIM:

        Each Authorized Claimant shall be allocated a pro rata share of the Net Settlement Fund
 based on his, her or its Recognized Claim as compared to the total Recognized Claims of all
 Authorized Claimants.

 Calculation of Recognized Claim for Common Stock Purchased During the Class Period:

 For shares of common stock purchased between March 30, 2011 and July 6, 2015, inclusive:

        A.      For shares sold prior to the close of trading on July 6, 2015, the Recognized
                Claim shall be zero.
        B.      For shares retained at the close of trading on July 6, 2015, the Recognized Claim
                shall be $1.45.

          For purposes of calculating your Recognized Claim, the date of purchase, acquisition or
 sale is the “contract” or “trade” date and not the “settlement” or “payment” date. The receipt or
 grant by gift, inheritance or operation of law of Silver Wheaton stock shall not be deemed a
 purchase, acquisition or sale of Silver Wheaton stock for the calculation of an Authorized
 Claimant’s Recognized Claim. Any shares transferred into your account must be listed at $0.00
 per share and marked as received shares or “R”. If you choose to provide purchase documentation
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 related to the transfer, please do so. Any shares transferred out of your account must be listed at
 the price of $0.00 per share and marked as delivered shares or “D”. If you choose to provide sale
 documentation related to the transfer, please do so.

         For purposes of calculating your Recognized Claim, all purchases, acquisitions and sales
 shall be matched on a First In First Out (“FIFO”) basis in chronological order. Therefore, on the
 Proof of Claim and Release Form enclosed with this Notice, you must provide all of your
 purchases, acquisitions and sales of Silver Wheaton stock during the time period from March 30,
 2011 through and including July 6, 2015.

         Payment pursuant to the Plan of Allocation approved by the Court shall be conclusive
 against all Authorized Claimants. No person shall have any claim against Defendants, Defendants’
 counsel, Plaintiffs, Plaintiffs’ Counsel or the Claims Administrator or other agent designated by
 Plaintiffs’ Counsel based on the distributions made substantially in accordance with the Stipulation
 and the Settlement contained therein, the Plan of Allocation, or further orders of the Court. Each
 claimant shall be deemed to have submitted to the jurisdiction of the Court with respect to the
 review and approval of the claimant’s Proof of Claim and Release Form. All persons involved in
 the review, verification, calculation, tabulation, or any other aspect of the processing of the claims
 submitted in connection with the Settlement, or otherwise involved in the administration or
 taxation of the Settlement Fund or the Net Settlement Fund shall be released and discharged from
 any and all claims arising out of such involvement, and all Settlement Class Members, whether or
 not they are to receive payment from the Net Settlement Fund, will be barred from making any
 further claim against the Net Settlement Fund beyond the amount allocated to them as provided in
 any distribution orders entered by the Court.


 Are there any further limitations on the amount I may receive?

                (i)     Transactions during the Class Period resulting in a gain shall be netted
                        against the Settlement Class Member’s transactions resulting in a loss to
                        arrive at the actual trading loss for the claim. To the extent that any
                        Settlement Class Member’s actual trading loss is less than the Recognized
                        Claim calculated for the Settlement Class Member’s claim, then the amount
                        of the claim will be limited to the Settlement Class Member’s actual trading
                        loss.
                (ii)    Any Settlement Class Member whose collective transactions in Silver
                        Wheaton securities during the Class Period resulted in a net gain shall not
                        be entitled to share in the Net Settlement Fund.
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              (iii)   The purchase and sale prices exclude any brokerage commissions, transfer
                      taxes or other fees. The covering purchase of a short sale is not an eligible
                      purchase. Gifts and transfers are not eligible purchases.
              (iv)    Exercise of option contracts into Silver Wheaton common stock will be
                      considered to be purchases or sales of Silver Wheaton common stock on the
                      date of the exercise.
              (v)     When providing share transactions during the Class Period, your claim form
                      must balance. The shares at the beginning of the Class Period, plus
                      purchases during the Class Period, minus sales during the Class Period,
                      must equal the shares balance at the end of the Class Period. If you submit
                      a claim that does not balance, your claim will not be processed and may be
                      ineligible to participate in this settlement.


 8.    How can I get a payment?
       To   qualify    for   a   payment,       you   should     fill   out   a   form   online   at
       www.silverwheatonsettlement.com (“Case Website”). Read the instructions carefully, fill
       out the form, and sign it in the location indicated. The Case Website also includes
       instructions on downloading your transaction data directly from your brokerage so that you
       do not have to manually enter each transaction.


       If you are unable to fill out a form online, please print the form entitled “Proof of Claim
       and Release Form” (also called the “Claim Form”) available on the Case Website, fill it
       out, and mail it to the address below:
                                 Silver Wheaton Corp. Litigation
                                  c/o Strategic Claims Services
                                           P.O. Box 230
                                   600 N. Jackson St., Ste. 205
                                         Media, PA 19063
                                        Tel.: 866-274-4004
                                        Fax: 610-565-7985
                                     info@strategicclaims.net

       Please note that if you choose to print and mail a form, you will need to manually enter
       each transaction.
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       Typically, most class members submit electronic claims. Submitting a claim by mail
       significantly increases the time necessary to process the claim, which both delays payments
       to all Settlement Class Members and reduces the amount of money that can be distributed
       to Settlement Class Members. Accordingly, if you choose to submit a claim by mail, your
       Recognized Claim will be reduced by the greater of $5 or 1%.

       The Claims Administrator will process your claim and determine whether you are an
       “Authorized Claimant.”
 9.    What am I giving up to get a payment or stay in the Settlement Class?
       Unless you validly exclude yourself, you will remain in the Settlement Class. That means
       that if the Settlement is approved, you and all Settlement Class Members will release
       (agreeing never to sue, continue to sue, or be part of any other lawsuit) the Released Claims
       (as defined below) against the “Released Persons” defined as: Defendants, their present
       and former parents, subsidiaries, divisions, departments, affiliates, stockholders, partners,
       officers, directors, employees, agents, insurers, co-insurers, reinsurers, accountants,
       auditors, financial advisors, investment bankers, underwriters, attorneys (including
       Defendants’ counsel), transfer pricing consultants, assigns, spouses, heirs, or any entity in
       which any Defendant has a controlling interest, any member of any Individual Defendant’s
       immediate family, or any trust of which any Individual Defendant is the settler or which is
       for the benefit of any Individual Defendant and/or member(s) of his family (and the
       predecessors, successors, administrators and assigns of each of the foregoing).


       “Released Claims” or “Release of Claims” means any and all Claims (including Unknown
       Claims), rights, demands, obligations, damages, actions or causes of action, or liabilities
       whatsoever, of every nature and description, whether known or unknown, whether arising
       under federal, state, common or foreign law or regulation, that have been, could have been,
       or in the future can or might be asserted by any member of the Settlement Class, or their
       successors, assigns, executors, administrators, representatives, attorneys, and agents, in
       their capacities as such, against the Released Persons arising out of, relating to, or in
       connection with both (a) the purchase, acquisition, holding, sale or other disposition of
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       publicly traded Silver Wheaton securities on a United States exchange or in a U.S.
       transaction during the Class Period and (b) the acts, facts, events, transactions, occurrences,
       statements, representations or omissions that were or could have been alleged or asserted
       by Plaintiffs or any member of the Settlement Class in the Action or in any other action in
       any court or forum. For avoidance of doubt, the term “Released Claims” does not include
       any claims arising out of, relating to, or in connection with the purchase, acquisition,
       holding, sale or other disposition of Silver Wheaton securities on a non-U.S. exchange or
       in a non-U.S. transaction. To the extent that a person or entity purchased, held, sold, or
       otherwise disposed of Silver Wheaton securities on both U.S. and non-U.S. exchanges
       during the Class Period, the term “Released Claims” extends only to those transactions
       involving publicly traded Silver Wheaton securities purchased, held, sold, or otherwise
       disposed of on a U.S. exchange or in a U.S. transaction. The term “Released Claims” also
       does not include any claims to enforce this Settlement.


       If you sign the Claim Form, you are agreeing to release your claims against the Released
       Persons, which will bar you from ever filing a lawsuit that could have been brought under
       any of the Released Claims. That means you will accept a share in the Net Settlement Fund
       as sole compensation for any losses you have suffered in the acquisition and sale of Silver
       Wheaton securities during the Class Period.


       Further information about what you are agreeing to and giving up is detailed in the
       Stipulation of Settlement, which is available at www.silverwheatonsettlement.com.
 10.   How do I get out of the Settlement?
       If you do not want to receive a payment from this Settlement, and you want to keep any
       right you may have to sue or continue to sue Defendants on your own based on the legal
       claims raised in this Class Action, then you must take steps to get out of the Settlement.
       This is called excluding yourself from – or “opting out” of – the Settlement. To validly
       exclude yourself from the Settlement, you must mail a letter stating that you “request
       exclusion from the Settlement Class in In re Silver Wheaton Corp. Sec. Litig. Case No. 15-
       CV-5146-CAS-PJWx”. You must include your name, address, telephone number, email
       contact information (if any) and your signature, along with an accurate list of all of your
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       purchases and sales of Silver Wheaton securities on a U.S. stock exchange or in U.S.
       transactions during the Class Period, including the date, number of shares and price of the
       shares purchased or sold and supporting brokerage account documentation. You must mail
       your exclusion request, postmarked no later than __________ _____, 2020, to:
                                Silver Wheaton Corp. Litigation
                                  c/o Strategic Claims Services
                                          P.O. Box 230
                                  600 N. Jackson St., Ste. 205
                                        Media, PA 19063

       You cannot exclude yourself by telephone or by e-mail. If you ask to be excluded, you
       will not receive a settlement payment, and you cannot object to the Settlement. If you ask
       to be excluded in conformity with this Notice, you will not be legally bound by anything
       that happens in this Action.
 11.   If I do not exclude myself, can I sue Defendants for the same thing later?
       No. Unless you exclude yourself, you give up any right to sue Defendants for the claims
       that this Settlement resolves, or the Released Claims as defined above. If you have a
       pending lawsuit, speak to your lawyer in that case immediately, since you may have to
       exclude yourself from this Settlement Class to continue your own lawsuit.
 12.   Do I have a lawyer in this case?
       The Court has appointed The Rosen Law Firm, P.A. as Plaintiffs’ counsel to represent the
       Settlement Class Members for the purposes of this Settlement (“Plaintiffs’ Counsel”). You
       have the option to retain your own separate counsel at your own cost and expense. You
       need not retain your own separate counsel to opt-out, object, submit a Proof of Claim and
       Release Form, or appear at the Settlement Hearing.
 13.   How will the lawyers be paid?
       Plaintiffs’ Counsel have expended considerable time litigating this action on a contingent
       fee basis and have paid for the expenses of the litigation themselves and have not been paid
       any attorneys’ fees in advance of this Settlement. Plaintiffs’ Counsel have done so with
       the expectation that if they are successful in recovering money for the Settlement Class,
       they will receive attorneys’ fees and be reimbursed for their litigation expenses from the
       Settlement Fund, as is customary in this type of litigation. Plaintiffs’ Counsel will not
       receive attorneys’ fees or be reimbursed for their litigation expenses except from the
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       Settlement Fund. Therefore, Plaintiffs’ Counsel will file a motion asking the Court at the
       Settlement Hearing to make an award of attorneys’ fees in an amount not to exceed one-
       third of the Settlement Fund and for reimbursement of reasonable litigation expenses not
       to exceed $1,600,000, and an award to Plaintiffs for reimbursement of reasonable costs and
       expenses (including lost wages) directly relating to their representation of the Settlement
       Class, in an amount collectively not to exceed $87,500 or $12,500 each. The Court may
       award less than these amounts. Any amounts awarded by the Court will come out of the
       Settlement Fund.
 14.   How do I tell the Court that I do not like the Settlement?
       You can tell the Court you do not agree with the Settlement, any part of the Settlement, or
       Plaintiffs’ Counsel’s motion for attorneys’ fees, and that you think the Court should not
       approve the Settlement, by mailing a letter stating that you object to the Settlement in the
       matter of In re Silver Wheaton Corp. Securities Litigation, Case No. 15-CV-5146-CAS-
       PJWx. For your objection to be valid, you must include: (a) your name, address, and
       telephone number; (b) your signature; (c) a statement of your objection or objections, and
       the specific reasons for each objection, including any legal and evidentiary support you
       wish to bring to the Court’s attention; (d) brokerage account documentation listing your
       purchases and sales of Silver Wheaton securities during the Class Period, including the
       date, number of shares and price of the shares purchased and sold on a U.S. exchange or in
       domestic U.S. transactions in order to show your membership in the Settlement Class; (e)
       the name, address, and telephone number of all counsel who represent you for the
       objection, including former or current counsel who may be entitled to compensation in
       connection with the objection; (f) a statement confirming whether you and/or your counsel
       plan to appear at the Settlement Hearing; and (g) the number of times you have filed an
       objection to a class action settlement in the previous five years and the nature of each
       objection. Be sure to mail the objections and supporting documentation to each of the
       places listed below, such that they are received no later than __________ _____, 2020, so
       the Court will consider your views:

       Clerk of the Court                                   Plaintiffs’ Counsel:
       United States District Court
                                                            Jonathan Horne
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       Central District of California                        THE ROSEN LAW FIRM,
       First Street U.S. Courthouse                          P.A.
       350 W 1st Street, Suite 4311                          275 Madison Avenue, 40th
       Los Angeles, CA 90012                                 Floor
                                                             New York, NY 10016

       Silver Wheaton Defendants’ Counsel:                   Deloitte’s Counsel:

       Gregory L. Watts                                     Lee G. Dunst
       WILSON SONSINI GOODRICH & ROSATI,                    GIBSON, DUNN &
       P.C.                                                 CRUTCHER LLP
       701 Fifth Avenue, Suite 5100                         200 Park Avenue
       Seattle, WA 98104                                    New York, NY 10166
       Attendance at the Final Settlement Hearing is not necessary but persons wishing to be heard
       orally regarding the Settlement, the Plan of Allocation, and/or the application for attorneys’
       fees and expenses or award to Plaintiffs must indicate in their written objection (or in a
       separate writing that is submitted in accordance with the deadline and after any instruction
       pertinent to the submission of a written objection) that they intend to appear at the
       Settlement Hearing and identify any witnesses they may call to testify or exhibits they
       intend to introduce into evidence at the Final Settlement Hearing.

 15.   What is the difference between objecting and requesting exclusion?
       Objecting is simply telling the Court you do not like something about the Settlement. You
       can object only if you stay in the Settlement Class. Requesting exclusion is telling the
       Court you do not want to be part of the Settlement Class and Settlement. If you exclude
       yourself, you cannot object to the Settlement because it no longer concerns you. If you
       stay in the Settlement Class and object, but your objection is overruled, you will not be
       allowed a second opportunity to exclude yourself and you will be bound by any order
       issued by the Court.
 16.   When and where will the Court decide whether to approve the Settlement?
       The Court will hold a Final Settlement Hearing on __________ _____, 2020 at _ _: _ _,
       _.m., at the United States District Court, Central District of California, First Street
       Courthouse, 350 W. First Street, Courtroom 8D, 8th Floor, Los Angeles, CA 90012.
       At this hearing, the Court will consider whether the Settlement is fair, reasonable, and
       adequate and whether to approve the Settlement. If there are objections, the Court will
       consider them, and the Court will listen to people who have asked to speak at the hearing.
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       The Court may also decide how much to award Plaintiffs’ Counsel for attorneys’ fees and
       expenses or Plaintiffs for their reasonable costs and expenses (including lost wages)
       directly relating to their representation of the Settlement Class.
 17.   Do I have to come to the hearing?
       No. Plaintiffs’ Counsel will answer any questions the Court may have. However, you are
       welcome to attend at your own expense. If you send an objection, you do not have to come
       to Court to talk about it. As long as you mail your written objection on time along with the
       required information, the Court will consider it.
 18.   What happens if I do nothing at all?
       If you do nothing, you will not receive a payment from the Settlement. However, unless
       you validly exclude yourself, you will not be able to start a lawsuit, continue with a lawsuit,
       or be part of any other lawsuit against Defendants about the claims made in this case ever
       again.


 DATED: __________ _____, 2020
                                              BY ORDER OF THE UNITED STATES
                                              DISTRICT COURT FOR THE CENTRAL
                                              DISTRICT OF CALIFORNIA
